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                    IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                  NO. 4:16CR00072 JLH

DARRIS DEWAYNE DENTON
and QUINSHOD KAYLA SHAW                                                        DEFENDANTS


              JUDGMENT OF ACQUITTAL – QUINSHOD KAYLA SHAW

       On the 6th day of March, 2018, this case came before the Court for trial by jury. The

government was represented by Assistant United States Attorneys Patrick C. Harris and Erin S.

O’Leary. Darris Dewayne Denton appeared in person and with his attorney, Nicki Nicolo; and

Quinshod Kayla Shaw appeared in person and with his attorney Steven R. Davis.         The parties

announced ready for trial.   A jury of twelve and one alternate was selected and sworn.

       At the conclusion of the evidence on March 8, 2018, the jury retired for deliberations at

1:49 P.M.   At 5:45 P.M., the jury returned unanimous verdicts of not guilty as to all counts for

defendant Quinshod Kayla Shaw.      Judgment of acquittal is therefore entered on counts one, two,

and three of the second superseding indictment for defendant Shaw.       The second superseding

indictment is dismissed with prejudice as to defendant Shaw.

       IT IS SO ORDERED this 9th day of March, 2018.




                                                    ______________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
